     Case 2:03-cr-00015-JPH-CMM                          Document 10               Filed 09/04/15               Page 1 of 1 PageID #: 97
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                            Francis Blair                                  )
                                                                           )    Case No: 2:03CR00015-001
                                                                           )    USM No: 07308-028
Date of Original Judgment:                            05/14/2004           )
Date of Previous Amended Judgment:                                         )    Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   210                     months is reduced to 168 months*                          .
                                             (Complete Parts I and II of Page 2 when motion is granted)




          ACERTI
               FIEDTRUECOPY
          L
          aur
            aA.
              Bri
                ggs
                  ,Cl
                    erk
          U.S.
             Dis
               tri
                 ctCourt
          Sout
             hernDis
                   tri
                     ctofI
                         ndi
                           ana

         By
                          De
                           put
                             yCl
                               erk

Except as otherwise provided, all provisions of the judgment dated                          05/14/2004              shall remain in effect.
IT IS SO ORDERED.

Order Date:          9/4/15
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                   Honorable William T. Lawrence, U.S. District Court Judge
                     (if different from order date)                                                    Printed name and title
